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July 24", 2020

The Honorable Stewart D. Aaron
Southern District of New York
Daniel Patrick Moynihan

United States District Court

500 Pearl Street - Courtroom 11C
New York, New York 10007

Re: Antolini vs. McCloskey, et al
Case No.: 1:19-cv-09038-GBD

Dear Judge Aaron,

To remind the court, | represent Plaintiff Dino Antolini and write in regard to your Order of July 20,
2020, [DE 53]. | wish to advise your Honor that Plaintiff has complied with same as of today’s
date.

Thank you,

 

SHFitc
To all counsel of record via ECF

 
